 

Case 1:21-cr-00569-TNM Document 55 Filed 11/14/22 Page 1of1

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Criminal Case No.: 21-569 (TNM)
VS.

JESSE R. BENTON,

Defendant.

RIGHT TO TESTIFY

I understand that as a criminal defendant I have a fundamental constitutional right
to testify in my own behalf, that this right is personal to me, and that this fundamental
constitutional right cannot be waived or given up for me by my lawyer. I acknowledge
that this fundamental constitutional right has been explained to me by the United
States District Judge ‘lrevor N. Mckadden, presiding judge, and that it is my decision:

_____ TO TESTIFY
<< NOT TO TESTIFY

This the 14 day of November, 2022.

 

DESSER. BEN ‘efidant

 

Attorney for Defendant

WITNESSED BY;

4 NWeools

Trevor N. McFadden
United States District Judge

 
